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                                                                                     '1.L'ec'ibL   6>ffn';

                            IINITED STATES DISTRICT COURT
                                 DISTzuCT OF MINNESOTA

TINITED STATES OF AMERICA,                               INDICTMENT

                        Plaintiff.                       18 U.S.C.   $ e22(g)
                                                         18 U.s.C.   $ e2a@)
                  v.                                     18 U.S.C.   $ 92a(c)
                                                         18 U.S.C.   $ e24(d)
JOSHUA GUNNAR OLSON,                                     18 U.S.C.   $ 211e(1)
                                                         28 U.S.C.   $ 2461(c)
                        Defendant.



          THE UNITED STATES GRAND JI]RY CHARGES                      TT{AT:      ;




                                          COUNT      1
                                          (Carjacking)

          On or about June 4, 2022, in the State and District of Minnesota, the defendant,

                                JOSHUA GUNNAR OLSON,

did knowingly and unlawfully take a rhotor vehicle, that is, a black 2011 Dodge Grand

Caravan,bearing Minnesota license plate BZN43S,thathad been transported, shipped, and

received in interstate and foreign commerce, from the person and presence ofL.B., by force

and violence and by intimidation, with the intent          to   cause serious bodily harm,   all in

violation of Title 18, United States Code, Section   2II9(l).

                                           COUNT 2
                               (Felon in Possession of a Firearm)

          On or about June 4, 2022, in the State and District of Minnesota, the defendant,

                                JOSHUA GUNNAR OLSON,

having previously been convicted of the following crimes, each of which was punishable

by   a   term of imprisonment exceeding one year:
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                     Crime                     Place of Conviction      Date of Conviction
                                                                          (on or about)
    Attempted third-degree burglary            Cass Countv             7/3/17
    Drug possession (5th degree)               Crow Wing County        6/20/16
    Felony violation of an order for           Aitkin County            slrUts
    protection
    Burglary (3rd degree)                      Crow Wing County        3/19/12
    Fleeing police in a motor vehicle          Cass County             216l12

    Burglary (3rd degree)                      Cass Countv              nlUn
 Drug sale (4th degree)                        Cass Countv             5/24/10


and knowing he had been convicted of at least one crime punishable by imprisonment for

a   term exceeding one year, did knowingly possess,'in and affecting interstate commerce, a

firearm, that is, a Glock 19 Gen 5 9mm handgun bearing serial number AFXR121, all in

violation of Title 18, United States Code, Sections 922(9) and924(a).


                                          COUNT 3
            (Brandishing a Firearm During and in Relation to a Crime of Violence)

         On or about June 4, 2022, in the State and District of Minnesota, the defendant,

                                JOSHUA GUNNAR OLSON,

during and in relation to a crime of violence for which they may be prosecuted in a court

of the United States, that is, carjacking, as set forth in Count 1 of this Indictment, which is

hereby realleged and incorporated herein by reference, did knowingly and unlawfully use,

carry, and brandish a firearm, all in violation of Title 18, United States Code, Section

e2a(c)(1)(A)(ii).
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                              FORFEITURE ALLEGATIONS

      The allegations in Counts     l1     are incorporated by reference   for the purpose of

alleging forfeiture pursuant to Title 18, United States Code, Section g24(d) and Title 28,

United States Code, Section 2a6I@).

      Upon conviction of Counts     I,2,   or 3 of this Indictment, the defendant shall forfeit

to the United   States pursuant   to Title 18, United    States Code, Section 92a(d)(1) in

conjunction with Title 28, United States Code, Section 246I(c), any firearm, accessories

and ammunition involved in or used in any knowing violation of         Title 18, United   States

Code, Sections 922(9) or 924(e) or 2119 including, but not limited to a Glock 19 Gen          5


9mm handgun bearing serial number AFXR121.




                                      A TRUE BILL




LINITED STATES ATTORNEY                              FOREPERSON
